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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x
AMERICAN LECITHIN COMPANY,
LIPOID GmbH,
LIPOID LLC, and
PHOSPHOLIPID GmbH,                                                  Case No. 12-cv-00929-VSB-KNF
                                    Plaintiffs,

-against-


CARSTEN MATTHIAS REBMANN,
            Defendant, Counterclaim
            and Third-Party
            Plaintiff,

-against-

HERBERT REBMANN,
LIPOID GRUNDSTUECKS GMBH,
LIPOID VERWALTUNGS, GMBH,
LIPOID AG, and COMPLECTOR AG,

                        Third-Party Defendants.
------------------------------------------------------x



 MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT AND THIRD-PARTY
   PLAINTIFF CARSTEN MATTHIAS REBMANN’S MOTION FOR SUMMARY
       JUDGMENT DISMISSING PLAINTIFFS’ AMENDED COMPLAINT




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       Plaintiffs American Lecithin Company, Lipoid GmbH, Lipoid LLC, and Phospholipid

GmbH (collectively, “Plaintiffs”) submit the following memorandum of law in opposition to the

Motion for Summary Judgment Dismissing Plaintiffs’ Amended Complaint (the “Motion”) of

Defendant and Third-Party Plaintiff Carsten Matthias Rebmann (“Defendant”).


                                     Preliminary Statement

       Defendant’s Motion is deeply flawed. Many of his claims of undisputed facts are facially

inconsistent with the deposition testimony he cites (and often inaccurately describes), including

his own, and much of his motion rests on documents that only his attorney has attempted to

authenticate, which falls far short of the required evidence. In addition, while he correctly states

that the required element for the cybersquatting claim of a bad faith intent to profit has a specific

meaning in this context, he avoids the detailed statutory and case law standards defining that

term which defeat his argument that the element is lacking in this case. He also makes the

astounding argument that transferring corporate intellectual property from the Plaintiff

companies to his own name is neither a breach of fiduciary duty nor conversion, an argument

that is specious. And his description of how much customer information was in the software

data with which he left on his computer is, quite simply, wrong. That data included a history of

both communications with and purchases by the customers, information that was proprietary and

competitively sensitive. The motion should be denied.



                                       Factual Background

       The Court has in four previous decisions already dealt at length with many of the facts in

this case. (Docs. 140, 141, 243 & 249.) The Court’s findings from the most recent of those

decisions include in relevant part (citations by the Court omitted):


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                Plaintiffs are four corporate entities, and Third-Party Defendant[] [is an
       individual. . . . Plaintiff ALC is a Delaware corporation with its principal place
       of business in Connecticut. Plaintiff Lipoid LLC is a New Jersey limited
       liability company with its principal place of business in New Jersey. Plaintiffs
       Lipoid GmbH and Phospholipid GmbH are German limited liability companies
       with principal places of business in Germany. . . . Each of these corporations
       are members of a consortium of related entities known collectively as the
       "Lipoid Group."
                In or about 1978, Dr. Rebmann began a business organized as Lipoid KG
       to manufacture, sell, and distribute lecithin and phospholipid products for use in
       the pharmaceutical, cosmetic, and dietetic industries. . . .
                At Dr. Rebmann's request, Defendant on or about March 12, 2004, filed
       Certificate of Formation for Lipoid LLC in New Jersey. In or about late 2005, Dr.
       Rebmann offered Defendant the opportunity to assume full management
       responsibility of the Lipoid Group's U.S. operations. In 2007, Defendant
       engineered the acquisition of ALC by the Lipoid Group and became its President
       and CEO. Defendant's duties at ALC were the same duties he had with respect to
       Lipoid LLC.
                . . . In August 2011, Dr. Rebmann terminated Defendant's employment
       with Lipoid LLC and ALC "for cause," because Defendant purportedly was
       "unwilling[] to work with the parent company and others within our group."
                Since having his employment terminated, Defendant has attempted to
       establish his own business selling lecithin and phospholipid products.


Doc. 249 at 3-5.



                                       Procedural History

       As the Court described in its most recent decision (id. at 6):

               Plaintiffs filed this lawsuit on February 6, 2012. (Doc. 1.) On February
       13, 2014, Defendant filed the Amended Answer, Counterclaims and Third-Party
       Claims, with Jury Demand ("First Amended Answer" or "FAA"). (Doc. 82.) On
       December 12, 2014, [the Court] granted in part and denied in part Plaintiffs'
       motion to dismiss the First Amended Answer, without prejudice to Defendant
       seeking leave to amend. (Doc. 141). On May 15, 2015, Defendant sought leave
       to file the Second Amended Answer. (Doc. 156-1.) By Stipulation and Order,
       entered May 18, 2015, (Doc. 157), the parties agreed, pursuant to Fed. R. Civ. P.
       15(a)(2), to the filing of the SAA.
               The Second Amended Answer assert[ed] twelve claims: six are
       counterclaims and third-party claims, and six are third-party claims only.




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       In that latest decision, the Court dismissed all the Third-Party Defendants except for Dr.

Rebmann and all but two and part of a third of Defendant’s twelve counter-/third-party claims.

Dr. Rebmann has moved for summary judgment on one of those claims against him, for

conversion, a motion filed and being briefed simultaneously with Defendant’s current motion.

       Defendant here moves for summary judgment on all the Amended Complaint’s five

claims against him: (1) for cybersquatting; (2) for breach of fiduciary duty as to Domain Names

(as defined in the Amended Complaint); (3) for conversion as to Domain Names; (4) for breach

of fiduciary duty as to CRM software and a laptop; and (5) for conversion as to CRM software

and a laptop.



                Facts Relevant to Defendant’s Motion for Summary Judgment

       The parties agree1 that (a) Defendant caused the formation of Plaintiff Lipoid LLC, in

2004, (b) at some point not long after that became functionally its CEO, and (c) after the Lipoid

Group acquired Plaintiff American Lecithin Co. in 2007 he also became its President and CEO

until he was terminated by both companies in August 2011 (Am. Compl./Doc. 12 ¶ 10; 2d Am.

Ans./Doc. 187 ¶ 10; Goldman Ex. 3 at 19:7-24:24).

       The domain name dispute begins with a set of trademarks owned by Plaintiffs. They

have alleged the registration of those marks as follows (Am. Compl. ¶ 9):



1
  Plaintiffs here rely, as does Defendant, on the four depositions attached as exhibits to the
Moving Affirmation of Defendant’s counsel, the depositions of Third-Party Defendant Dr.
Herbert Rebmann (Goldman Ex. 2), of Defendant (Goldman Ex. 3), of Dr. Bruce Baretz, CEO of
Plaintiff Lipoid LLC (Goldman Ex. 5), and of Randall E. Zigmont, President of Plaintiff
American Lecithin Co. (Goldman Ex. 12). Plaintiffs also rely on the pleadings, two affidavits of
Defendant previously filed in this action, one sworn to October 18, 2013 (Docs. 74 & 78), and
another sworn to October 9, 2015 (Doc. 206), and Defendant’s Answers to Plaintiffs’ First Set of
Interrogatories, dated May 21, 2012, attached as Exhibit A to the accompanying affidavit of
Gregory F. Hauser.

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Trademark                     Registrant                     Reg. Date and Number

Alcolec                       Am. Lecithin Co.               Oct. 2, 2007; 3301136
American Lecithin             Am. Lecithin Co.               Dec. 2, 2009; 3756437
Cerasome                      Lipoid LLC                     June 8, 2010; 3798278
Lipoid                        Lipoid GmbH                    Sept. 11, 2007; 3289399
Nanosolve                     Lipoid GmbH                    May 19, 2009; 3621434
Phosal                        Phospholipid GmbH              Sept. 7, 2004; 2880858
Phospholipon                  Phospholipid GmbH              Nov. 16, 2004; 2902741
Phytosolve                    Lipoid GmbH                    Jan. 31, 2006; 3055674


(See also Hauser Aff. Exs. B-I.2)

       Defendant has denied sufficient knowledge or information to admit or deny whether these

facts are true (2d Am. Ans. ¶ 9), but he testified at his deposition that he is familiar with the

terms as trademarks, indeed that he initiated the trademark registrations for Cerasome,

Nanosolve and Phytosolve, and that he was aware that it was one of the Plaintiffs that owned the

marks. (Goldman Ex. 3 at 44:9-50:5.)

       As for the Domain Names, Mr. Zigmont testified that he acquired alcolec.com and

AmericanLecithin.com originally for American Lecithin Company and also was the one who

originally registered phosal.com and phospholipon.com. (Ex. 12 at 32:24-33:10 & 42:17-43:22.)

Defendant has testified that he was responsible for registering the Domain Names cerasome.com,

nanosolve.com, phosal.com, phospholipon.com and phytosolve.com in his personal name, that

he transferred the domain name lipoid.com from Lipoid GmbH to his own name, and also



2
  These registrations are admissible pursuant to Fed. R. Evid. 201(b)(2). See, e.g., Omega S.A. v.
Omega Eng’g, Inc., 228 F. Supp. 2d 112, 120 (D. Conn. 2002) (“[P]laintiff’s copies of trademark
registrations are admissible evidence under Fed. R. Evid. 201(b)(2) as a ‘judicially noticed fact’ .
. . .”); Microsoft Corp. v. Atek 3000 Computer Inc., No. 06 CV 6403, 2008 WL 2884761, at *2
n.2 (E.D.N.Y. July 23, 2008) (“The Court has taken judicial notice of the fact that the subject
trademarks and service marks remain valid and registered with the United States Patent &
Trademark Office.”); see also Island Software and Computer Serv., Inc. v. Microsoft Corp., 413
F.3d 257, 261 (2d Cir. 2005) (taking judicial notice of Microsoft’s copyright registrations on
summary judgment, even though Microsoft did not swear to their authenticity).

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transferred alcolec.com and americanlecithin.com from American Lecithin Co. to his own name.

(Goldman Ex. 3 at 50:6-70:18; see also Def. Rule 56.1 Statement ¶¶ 3-33.)

         In his Answers to Plaintiff’s First Set of Interrogatories (Hauser Aff. Ex. A), Defendant

stated in response to Interrogatory No. 2:

         ANSWER: OBJECTION. Defendant objects to this Interrogatory as beyond the
         scope of what is permissible pursuant to Local Civil Rule 33.3 and seeking
         information that Plaintiff can obtain more practicably through other means.
         Subject to and without waiving his objection, Defendant responds:
         alcolec.com: Upon information and belief, the domain has been registered since
         September 30, 2003 and was transferred to my account in May or June 2008.
         americanlecithin.com: Upon information and belief, the domain has been
         registered since January 2000 and was transferred to my account in May or June
         2008.
         cerasome.com: I do not recall the specific date. Upon information and belief, the
         domain has been registered since May 4, 2011.
         lipoidllc.com: I do not recall the specific date. Upon information and belief, the
         domain has been registered since March 2004, and was transferred to my account
         in 2007 or 2008.
         nanosolve.com: I do not recall the specific date. Upon information and belief, the
         domain has been registered since January 4, 2004.
         phosal.com: Upon information and belief, the domain has been registered since
         September 30, 2003 and was transferred to my account in May or June 2008.
         phospholipon.com: Upon information and belief, the domain has been registered
         since September 30, 2003 and was transferred to my account in May or June
         2008.
         phvtosolve.com: I do not recall the specific date. Upon information and belief, the
         domain has been registered since May 4, 2011.
         phospholipids.net: I do not recall the specific date, but it was registered in my
         name at least as early as August 25, 2007. Upon information and belief, the
         domain has been registered since February 4, 2004.
         cochleates.com: Upon information and belief, I registered this domain on
         September 7, 2006.


         The parties are thus in agreement that Plaintiffs own a set of trademarks that are

incorporated in a set of Domain Names that Defendant either initially registered in his name or

transferred from one of the Plaintiffs to his name. Beyond this, Plaintiffs dispute many of what



3
    Defendant’s Rule 56.1 Statement has two paragraphs numbered 3.

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Defendant claims to be undisputed facts. To a large extent, Plaintiffs rely on Defendant’s own

deposition testimony. He claims in this motion that his father was aware of his registration of the

Domain Names in Defendant’s personal name (Def. Rule 56.1 St. ¶ 5), but at his deposition

Defendant testified that he did not know whether his father was aware (Goldman Ex. 3 at 67:11-

20). Defendant also claims that he has paid all the expenses for the Domain Names since they

were registered in his name without being repaid by any of the companies and has offered to

return them if he was paid those expenses. (Def. Rule 56.1 St. ¶¶ 4, 7 & 15; see also Goldman

Ex. 3 at 111:2-112:5.) Plaintiffs dispute that any such offer was made and dispute that the

evidence Defendant proffers on this point supports his claim. Furthermore, at his deposition, he

testified that could have reimbursed himself and he doesn’t know if he ever sought

reimbursement, and that he was holding the Domain Names until there was an agreement on all

open issues, in other words, not just for reimbursement of domain name expenses. (Goldman

Ex. 3 at 72:17-73:6, 112:7-114:9 & 139:14-143:8.)

       The facts relevant to his intent are also disputed. He claims that he acquired them purely

for business purposes and only to protect the companies. (Def. Rule 56.1 St. ¶¶ 3-4 & 23.) At

his deposition, however, he admitted that he has at least once referred to them as “my domain

names”, that he was aware he was in control of the Domain Names and retained control after he

was terminated, and that he could transfer them to anyone he wanted. (Goldman Ex. 3 at 100:7-

102:3, 103:18-105:9 & 114:20-115:21.)        Dr. Baretz’s view is that Defendant’s intentional

retention of the Domain Names after termination could only have been deliberate, was a use of

the companies’ trademarks, and was both wrongful and improper. (Goldman Ex. 5 at 49:8-50:6,

87:15-88:2, 92:12-93:4 & 94:7-95:17.)




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       After he was terminated, he admits that he received a demand to return the Domain

Names to the companies that owned the trademarks incorporated in those names and that he

made a decision not to do so. (Goldman Ex. 3 at 109:10-110:19 & 120:20-22.) He also admits

in his affidavits that he then proceeded to enter into direct competition with the Lipoid Group

(Doc. 74 & 78 at ¶ 56; Doc 206 at ¶ 52), as the Court has found, see supra at 2. (See also

Goldman Ex. 12 at 97:15-100:8.)

       The parties also dispute whether Plaintiffs suffered harm from Defendant’s retention of

the Domain Names. After he was terminated, his control of the Domain Names meant that the

two American plaintiffs no longer received certain emails sent by customers or prospective

customers and received complaints from some of them about the lack of response. (Goldman

Ex. 5 at 80:13-83:24: Ex. 12 at 52:25-55:10, 57:9-16.) In addition, the Plaintiffs had to set up

new domains, new websites and new e-mail addresses and inform their customers. (Goldman

Ex. 5 at 81:15-25, 83:11-21, 91:11-22; Ex. 12 at 34:11-25, 40:3-9, 49:12-50:9.) Defendant did

not respond to efforts by Mr. Zigmont to ask for redirection to Plaintiffs of the e-mails Defendant

was receiving from Plaintiffs’ customers and other contacts. (Goldman Ex. 12 at 40:13-41:12.)

Defendant admitted at his deposition that he was receiving emails from Plaintiffs’ customers and

that he stopped forwarding them. (Goldman Ex. 3 at 130:14-132:9.)

       The parties dispute the nature of Plaintiffs’ CRM (Customer Relationship Management)

software retained and used by Defendant when he was terminated. He claims that he bought

both a laptop and the software. (Def. Rule 56.1 St. ¶¶ 30 & 33.) Plaintiff’s dispute that he

bought the software, which was company property. (The unauthenticated evidence he submitted,

Goldman Ex. 22, shows only that he purchased the laptop, not the CRM software.) Indeed,




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Defendant testified at his deposition that one of the companies purchased the software.

(Goldman Ex. 3 at 81:11-22.)

       Defendant claims that the software was only a contact list and contained no proprietary

information. (Def. Rule 56.1 St. ¶ 35.) Plaintiffs have testified that it also contained records of

customer visits, email communications with customers, and records of their purchases, which

they considered the “lifeblood” of the company and trade secrets.4 (Goldman Ex. 5 at 82:5-

83:10, 101:18-103:2 & 109:22-111:11; Ex. 12 at 59:18-61:2.) Plaintiffs were also well aware

that Defendant was indeed contacting their customers and attempting to divert business to his

benefit and Plaintiffs’ detriment. (Goldman Ex. 5 at 86:16-87:4 & 139:20-142:8; Ex. 12 at

69:20-70:8, 71:20-72:2, 74:11-11.)



                                            Argument

       Summary judgment is warranted only when there is no issue of material fact and when,

based upon facts not in dispute, the moving party is entitled to judgment as a matter of law.

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).           The movant bears the burden of

demonstrating “the absence of a genuine issue of material fact.” Tuckett v. Slade Indus., Inc.,

No. 1:16-CV-4081-GHW, 2018 WL 3910821, at *3 (S.D.N.Y. Aug. 14, 2018). A dispute

regarding a material fact is genuine if the evidence is such that a reasonable jury could return a

verdict for the nonmoving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). In

determining whether there are genuine issues of material fact, the court is “required to resolve all




4
 Defendant disputes whether the information constituted trade secrets, which is thus an issue of
fact, but the premise of the claims against him is that the collected information was the property
of the two American plaintiffs, which Defendant has not disputed.

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ambiguities and draw all permissible factual inferences in favor of the party against whom

summary judgment is sought.” Terry v. Ashcroft, 336 F.3d 128, 137 (2d Cir. 2003).

       Defendant falls far short of satisfying this rigorous standard because there are a multitude

of genuine issues of material fact. See, e.g., Plaintiffs’ Response to Defendant’s Rule 56.1

Statement (“Plaintiffs’ Rule 56.1 Response”) and supra. Moreover, as set forth in Plaintiffs’

Rule 56.1 Response, Defendant impermissibly attempts to establish undisputed facts by citations

to certain documents that have either not been authenticated at all or have only been

authenticated by Defendant’s attorney, who does not possess the requisite personal knowledge

regarding the cited documents. See Plaintiffs’ Rule 56.1 Response ¶¶ 1, 2, 5, 7-9, 14, 15, 16, 27,

31, and 40.     Defendant’s failure to properly authenticate these documents renders them

inadmissible for purposes of summary judgment. See Redmond v. Teledyne Landis Mach., No.

515-CV-00646 (MAD/ATB), 2017 WL 2465173, at *9 (N.D.N.Y. June 7, 2017) (holding that

attorney without personal knowledge of a document cannot authenticate that document for

summary judgment purposes); Perpall v. Pavetek Corp., No. 12-CV-0336 (PKC), 2017 WL

1155764, at *9 (E.D.N.Y. Mar. 27, 2017) (same).

         I.    Summary Judgment Dismissing Plaintiffs’ Cybersquatting Claim Should Be
               Denied.

       To prevail on a claim under the ACPA, a plaintiff must prove that: “(1) its marks were

distinctive at the time the domain name was registered; (2) the infringing domain names

complained of are identical to or confusingly similar to plaintiff's mark; and (3) the infringer has

a bad faith intent to profit from that mark.” Webadviso v Bank of Am. Corp., 448 Fed Appx 95,

97 (2d Cir 2011). There can be no serious dispute that the Domain Names are distinctive under

the law considering that they are all URL versions of registered trademarks, see supra at 3-4, or

the legal corporate names of three of the Plaintiffs. See Lois Sportswear, U.S.A., Inc. v. Levi



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Strauss & Co., 799 F.2d 867, 871 (2d Cir. 1986) (“registered trademarks are presumed to be

distinctive and should be afforded the utmost protection”); Alpha Recycling, Inc. v. Crosby, No.

14-CV-5015 (JPO), 2016 WL 1178774, at *3 (S.D.N.Y. Mar. 23, 2016) (“As a rule, a registered

trademark is presumed to be distinctive.”). And there is no doubt here that Defendant’s Domain

Names are in fact identical to Plaintiffs’ marks.

       Plaintiffs have established a triable issue of fact regarding Defendant’s bad faith intent to

profit from his ownership of the Domain Names. The ACPA lists nine factors courts may

consider in determining whether a person has acted in bad faith.5 However, as the Court of

Appeals has explained, “we are not limited to considering just the listed factors when making our

determination of whether the statutory criterion has been met. The factors are, instead, expressly

described as indicia that ‘may’ be considered along with other facts.” Sporty's Farm L.L.C. v.

Sportsman's Mkt., Inc., 202 F.3d 489, 498 (2d Cir. 2000); see also Virtual Works, Inc. v.

       5
            These nine factors are: (I) the trademark or other intellectual property rights of the
person, if any, in the domain name; (II) the extent to which the domain name consists of the legal
name of the person or a name that is otherwise commonly used to identify that person; (III) the
person's prior use, if any, of the domain name in connection with the bona fide offering of any
goods or services; (IV) the person's bona fide noncommercial or fair use of the mark in a site
accessible under the domain name; (V) the person's intent to divert consumers from the mark
owner's online location to a site accessible under the domain name that could harm the goodwill
represented by the mark, either for commercial gain or with the intent to tarnish or disparage the
mark, by creating a likelihood of confusion as to the source, sponsorship, affiliation, or
endorsement of the site; (VI) the person's offer to transfer, sell, or otherwise assign the domain
name to the mark owner or any third party for financial gain without having used, or having an
intent to use, the domain name in the bona fide offering of any goods or services, or the person's
prior conduct indicating a pattern of such conduct; (VII) the person's provision of material and
misleading false contact information when applying for the registration of the domain name, the
person's intentional failure to maintain accurate contact information, or the person's prior conduct
indicating a pattern of such conduct; (VIII) the person's registration or acquisition of multiple
domain names which the person knows are identical or confusingly similar to marks of others
that are distinctive at the time of registration of such domain names, or dilutive of famous marks
of others that are famous at the time of registration of such domain names, without regard to the
goods or services of the parties; and (IX) the extent to which the mark incorporated in the
person's domain name registration is or is not distinctive and famous within the meaning of
subsection(c). 15 U.S.C. § 1125(d)(1)(B)(i).


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Volkswagen of Am., Inc., 238 F.3d 264, 269 (4th Cir. 2001) (“We need not, however, march

through the nine factors because the ACPA itself notes that use of the listed criteria is

permissive.”). As the court explained in Dudley v. HealthSource Chiropractic, Inc., “the Second

Circuit emphasized in Sporty's Farm that the most important ground for holding bad faith intent,

was the unique circumstances presented in that case, which did not fit neatly into the specific

factors outlined by Congress, but may nevertheless be considered under the statute.” 585 F.

Supp. 2d 433, 441 (W.D.N.Y 2008); accord Gioconda Law Grp. PLLC v. Kenzie, 941 F. Supp.

2d 424, 433 (S.D.N.Y. 2013) (“[A] number of courts—including the Second Circuit—have

departed from strict adherence to the statutory indicia and relied expressly on a more case-

specific approach to bad faith.”).

       In Sporty’s Farm, for example, the court held that while Defendant’s conduct did not fit

neatly into the nine categories articulated above, there were ample grounds to conclude that

Defendants were engaged in a bad faith scheme to profit by misappropriating Plaintiffs’ domain

name. See 202 F.3d at 499. In sum, the Court’s role is “to determine how close a defendant's

conduct falls to the ACPA's heartland—the clearest example of which is the situation where a

defendant registers an established entity's domain name in bad faith and offers to sell it to the

entity for an exorbitant price.” Gench v. HostGator.com LLC, No. 14 CIV. 3592 RA GWG,

2015 WL 569154, at *7 (S.D.N.Y. Feb. 11, 2015) (internal citation omitted); accord Gioconda

Law Grp., 941 F. Supp. 2d at 434 (holding that a quintessential example of bad faith is “where a

defendant intends to profit by diverting customers from the website of the trademark owner to

the defendant's own website, where those customers would purchase the defendant's products or

services”) (internal quotation marks omitted).




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        In this case, Defendant’s behavior fits well within the scope the statute gives to bad faith.

Looking at the statutory factors, there is no contest that Plaintiffs own the trademarks

incorporated in most of the Domain Names at issue and that the others include the legal names of

three of the Plaintiffs. Plaintiffs have previously used both lipoid.com and americanlecithin.com

for the bona fide offering of goods and more than one of the other marks as names for products

offered through those domains. Defendant has admitted that customer communications to the

Plaintiffs followed the domains when he departed with them and that he later made a decision

not to forward those communications back to Plaintiffs Lipoid LLC and ALC, diverting

customers from the mark owners and clearly posing a threat to good will, as subsequent

complaints from customers evidenced, and all this at a time when he was entering into direct

competition with Plaintiffs. Defendant has also admitted that he was not using the Domain

Names but holding them as leverage in his settlement negotiations with the American Plaintiffs,

i.e., for financial gain.

        Defendant’s position that he was not engaged in a bad faith scheme to profit by

controlling the Domain Names must be rejected.        Courts take a broad view of “profit” under the

ACPA and do not require specific commercial activity. See Hamptons Locations v. Rubens, 640

F. Supp. 2d 208, 221 (E.D.N.Y. 2009) (“[T]he prevailing view is that the ACPA does not require

a plaintiff to demonstrate defendant's use in commerce.”). Indeed, several other forms of

improper conduct have been held to constitute a bad faith intent to profit, including the type of

extortionate demands Defendant has made in this lawsuit. See Gioconda Law Grp., 941 F. Supp.

2d at 434 (stating that “an extortionate demand” can establish bad faith intent to profit under the

ACPA); Coca-Cola Co. v. Purdy, 382 F.3d 774, 786 (8th Cir. 2004) (finding offer to stop using

Washington Post domain names in exchange for space on the editorial page was evidence of bad




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faith intent to profit, noting that “[p]rofit includes an attempt to procure an advantageous gain or

return”); People for Ethical Treatment of Animals v. Doughney, 263 F.3d 359, 368 (4th Cir.

2001) (defendant's suggestion that mark owner “make him a [settlement] offer” instead of suing

him regarding the domain name in question satisfied the intent to profit requirement). At a

minimum, whether Defendant acted in bad faith is an issue for a jury to decide. See Omega S.A.

v. Omega Eng'g, Inc., 228 F. Supp. 2d 112, 131 (D. Conn. 2002) (denying cross motions for

summary judgment and holding that “both parties' motions must be denied with respect to the

issue of defendants' bad faith intent to profit under the ACPA and the determination properly left

to a jury, mindful that at the summary judgment stage the judge's function is not himself to

weigh the evidence and determine the truth of the matter but to determine whether there is a

genuine issue for trial”).

        Accordingly, Defendant’s motion for summary judgment for dismissal of Plaintiffs’

ACPA claim must be denied.

         II.    Summary Judgment Dismissing Plaintiffs’ Breach of Fiduciary Duties
                Claims Relating To The Domain Names Should Be Denied.

        A claim for breach of fiduciary duty involves three elements: “breach by a fiduciary of a

duty owed to plaintiff; defendant's knowing participation in the breach; and damages.” SCS

Commc’ns, Inc. v. Herrick Co., Inc., 360 F.3d 329, 342 (2d Cir. 2004). The factual record

establishes that Defendant was a fiduciary of both Lipoid LLC and the American Lecithin

Company when he registered the Domain Names in his personal name.

        New York courts decide questions relating to corporate internal affairs “in accordance

with the law of the place of incorporation,” Scottish Air Int'l, Inc. v. British Caledonian, 81 F.3d

1224, 1234 (2d Cir. 1996) (citation omitted). Under the law of both New Jersey (where Lipoid

LLC was formed) and Delaware (where American Lecithin Company is incorporated), corporate



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officers, like Defendant, owe their corporation a duty of care, a duty of loyalty, and a duty to act

in good faith in connection with carrying out their duties on behalf of the corporation. See KDW

Restructuring & Liquidation Servs. LLC v. Greenfield, 874 F. Supp. 2d 213, 221 (S.D.N.Y.

2012) (“A Delaware corporation owes a ‘triad’ of fiduciary duties to its shareholders and the

corporation, composed of the duty of care, the duty of loyalty, and the duty to act in good faith.

Corporate directors and officers have identical fiduciary duties.”); Jurista v. Amerinox

Processing, Inc., 492 B.R. 707, 761 (D.N.J. 2013) (“In New Jersey, corporate officers . . . owe a

fiduciary duty of loyalty to the corporate entity which they represent. The duty of loyalty

requires corporate directors to act in the best interests of the corporation, rather than for their

own benefit, and requires an undivided and unselfish loyalty to the corporation [and] demands

that there shall be no conflict between duty and self-interest.”).

       Defendant knowingly breached his duties of loyalty and care related to intellectual

property assets of American Lecithin Company and Lipoid LLC by registering their Domain

Names in his own name and then using them for his own personal benefit as a bargaining chip in

connection with this litigation. Defendant claims that no such duty was violated because he

allegedly offered to return the Domain Names in exchange for reimbursement of his “personal

expenses.”    Motion at 14. Yet, Defendant provides no explanation, nor can he, as to why he

incurred costs related to the Domain Names in his personal capacity in the first place, given that

he was employed by and serving as CEO of both American Lecithin Company and Lipoid LLC

when he incurred such costs and could have sought reimbursement at any time. In fact, he

testified at his deposition that he wasn’t sure whether he had sought reimbursement. The only




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explanation is that he was acting in his own self-interest at the expense of American Lecithin

Company and Lipoid LLC in breach of his fiduciary duties.6

       Indeed, Defendant’s conduct is analogous to situations where courts have held a fiduciary

duty has been violated. For example, in Third Educ. Grp., Inc. v. Phelps, a corporate officer who

took personal control over the corporation’s domain name was held to have breached his

fiduciary duty, with the court explaining that “[a] corporate officer taking an asset of the

corporation and using it for his own purposes is perhaps the epitome of a breach of a fiduciary

duty . . . . By taking control of the domain names and precluding members of the corporation

from accessing it was akin to a corporate officer changing the locks and barring the doors to the

corporate offices.” 675 F. Supp. 2d 916, 926 (E.D. Wis. 2009). Similarly, in Sevex N. Am., Inc.

v. Ragland, plaintiff who claimed a defendant fiduciary who registered domain names in his own

name in an effort to complete with plaintiff in the future raised triable issues of fact that survived

a motion to dismiss.     Sevex N. Am., Inc. v. Ragland, No. 1:06-CV-2005-RWS, 2007 WL

9702302, at *5 (N.D. Ga. Mar. 16, 2007).

       Defendant’s argument that Plaintiffs have suffered no damages must also be rejected.

See supra at 6-7.       Courts have acknowledged the presence of damages under similar

circumstances. See Renaissance Search Partners v. Renaissance Ltd. LLC, No. 12CV5638 DLC,

2014 WL 4928945, at *6 (S.D.N.Y. Oct. 1, 2014) (awarding compensatory and punitive damages

where defendant fiduciary misappropriated website for his own personal use resulting in harm to



6
 Defendant relies on an exculpatory clause in the Operating Agreement of Lipoid LLC, relieving
the Manager of a fiduciary duty to the company. The clause falls far short of supporting
summary judgment for three reasons. First, it has no bearing on his fiduciary duty to American
Lecithin Company. Second, it applies only to the Manager, and he has not established what his
tenure as Manager was. Third, while New Jersey law allows such a clause, it cannot be used to
authorize either intentional misconduct or knowing violation of law, N.J.S.A. 42:2C-11d(3), both
of which Defendant’s conduct here constitutes.

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plaintiff’s customer relationships). Moreover, discovery is not yet complete, and there is no

telling what additional damages Plaintiffs will uncover prior to trial. In re Gen. Motors LLC

Ignition Switch Litig., No. 14-MC-2543 (JMF), 2018 WL 1638096, at *1 (S.D.N.Y. Apr. 3,

2018) (holding that motion for summary judgment was premature while discovery on damages

issues was still open).

       As a final point as to fiduciary duty, Defendant’s argument that his fiduciary duties ended

when he was terminated is as flawed as almost all of his arguments. Courts in this District have

expressly acknowledged that an employee’s fiduciary duties to his employer may continue after

the termination of the employment relationship. See, e.g., Am. Fed. Grp., Ltd. v. Rotherberg, 91

CIV. 7860(THK), 2003 WL 22349673, at *13 (S.D.N.Y. Oct. 14, 2003) (“[A]n employee's

fiduciary duty may continue after termination of the employment relationship. Such a continuing

duty may . . . include the specific duty not to divert business in which a former employer has the

requisite tangible expectancy, and the duty not to exploit to the former employer's detriment

specific information obtained during the employment that was either technically confidential or

that was available to the fiduciary only because of the employment.”); Chefs Diet Acquisition

Corp. v. Lean Chefs, LLC, 14-CV-8467 (JMF), 2016 WL 5416498, at *8 (S.D.N.Y. Sept. 28,

2016) (explaining that “courts have found a violation of fiduciary duties where former

employees . . . used their former employer’s proprietary secrets to build a competing business.”);

see also Abraham Zion Corp. v. Lebow, 593 F. Supp. 551, 569 (S.D.N.Y. 1984) (explaining that

a former employee who had no written contract prohibiting the disclosure of his employer’s

confidential information nonetheless “has a fiduciary duty that exists independent of any contract

between the parties to refrain from such conduct.”).




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        As set forth above, Plaintiffs are well-positioned to argue—and prove—at trial that

Defendant violated his fiduciary duties to American Lecithin Company and Lipoid LLC and that

they have sustained damages. Therefore, summary judgment dismissing Plaintiffs’ breach of

fiduciary duty claim related to the Domain Names must be denied.

       III.    Summary Judgment Dismissing Plaintiffs’ Claim for Conversion of Domain
               Names Should Be Denied.

       Contrary to Defendant’s argument, courts in this District have expressly recognized that

domain names and other electronic information may be the subject of a conversion claim. See

Salonclick LLC v. SuperEgo Mgmt. LLC, No. 16 CIV. 2555 (KMW), 2017 WL 239379, at *4

(S.D.N.Y. Jan. 18, 2017) (“The Court holds that Plaintiff has stated a claim for conversion of its

domain name . . . under New York law.”); Ardis Health, LLC v. Nankivell, No. 11 CIV. 5013

NRB, 2011 WL 4965172, at *3 (S.D.N.Y. Oct. 19, 2011) (“It is uncontested that plaintiffs own

the rights to [website access information]. Defendant's unauthorized retention of the information

may therefore form the basis of a claim of conversion.”); Triboro Quilt Mfg. Corp. v. Luve LLC,

No. 10 CV 3604 VB, 2014 WL 1508606, at *9 (S.D.N.Y. Mar. 18, 2014) (holding that a claim

for conversion is viable where the “rightful owner of intangible property is prevented from

creating or enjoying a legally recognizable and protectable property interest in his idea such as

by being prevented from registering the domain name for a website or being denied access to a

database he created”). None of the cases cited by Defendant actually deal with a claim of

conversion of a domain name, and they are irrelevant.

       Under New York law, “[c]onversion is the unauthorized assumption and exercise of the

right of ownership over goods belonging to another to the exclusion of the owner's rights.”

Thyroff v. Nationwide Mut. Ins. Co., 460 F.3d 400, 403–04 (2d Cir. 2006) (recognizing electronic

data is subject to a claim for conversion). Here, Defendant has admitted that he took the several



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Domain Names originally registered by Mr. Zigmont for American Lecithin Company as well as

lipoidllc.com and transferred them to his own name. See supra at 4-5. That was conversion.

        IV.    Summary Judgment Dismissing Plaintiffs’ Breach of Fiduciary Duties And
               Conversion Claims Relating To the CRM Software And Laptop Should Be
               Denied.

       As can be seen supra at 7, the material facts concerning Plaintiffs’ claims with regard to

the CRM software, including whether he purchased it, whether his father knew of any such

purchase, and to what information the software gave him access, are in definite dispute.

Furthermore, as shown supra at 16, his argument that his fiduciary duties ended with his

employment is wrong. Summary judgment as to the two claims relating to the CRM software

must therefore also be denied.

         V.    The Doctrines Of Unclean Hands And Laches Do Not Bar Plaintiffs’ Claims.

       Defendant’s argument that he is entitled to summary judgment on his affirmative defense

of unclean hands is disposed of easily. To prevail on an unclean hands defense, the moving

party “must prove that (1) the offending party is guilty of immoral, unconscionable conduct; (2)

the conduct was relied upon by the asserting party and (3) the asserting party was injured as a

result.” Residential Capital, LLC, No. 15-CV-5423 (AJN), 2016 WL 1192690, at *6 (S.D.N.Y.

Mar. 22, 2016) (internal citations omitted). Unclean hands “is never used unless the plaintiff is

guilty of immoral, unconscionable conduct and even then only when the conduct relied on is

directly related to the subject matter in litigation and the party seeking to invoke the doctrine was

injured by such conduct.” Nat'l Distillers & Chem. Corp. v. Seyopp Corp., 17 N.Y.2d 12, 15–16,

214 N.E.2d 361, 362 (1966); accord Markel v. Scovill Mfg. Co., 471 F. Supp. 1244, 1255

(W.D.N.Y.), aff'd, 610 F.2d 807 (2d Cir. 1979) (“[C]ourts are reluctant to apply the unclean

hands doctrine in all but the most egregious situations.”).




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       Here, Defendant’s unclean hands defense is based almost entirely on Plaintiffs requesting

that Defendant return the Domain Names without complying with a request for a ransom

payment characterized as “personal expenses.” No reasonable fact finder could conclude that

such conduct is in any way immoral or unconscionable, and Defendant has suffered no harm as a

result of Plaintiffs’ request, other than needlessly engaging in litigation instead of simply

returning the Domain Names to Defendants. Indeed, Defendant’s defense fails since his own

position has not been consistent. At his deposition, he testified both that he was not sure whether

he had sought reimbursement for the domain name expenses and that he was holding them not

just for those expenses but as part of a settlement of all issues.

       Defendant’s laches affirmative defense is equally flawed. It fails because such defense

may generally only be relied upon to defeat a preliminary injunction, not a permanent injunction

as Plaintiffs are seeking here. See Citibank, N.A. v. Citytrust, 756 F.2d 273, 276 (2d Cir. 1985)

(“Although a particular period of delay may not rise to the level of laches and thereby bar a

permanent injunction, it may still indicate an absence of the kind of irreparable harm required to

support a preliminary injunction.”).      While Plaintiffs have suffered and continue to suffer

irreparable harm as a result of Defendant’s theft of the Domain Names, because they have

decided not to seek a preliminary injunction, there can be no argument that laches bars their

claims. Indeed, they timely filed this lawsuit in April 2012, immediately after Defendant refused

to return the Domain Names as Plaintiffs requested in multiple letters and emails. See Goldman

Affidavit Exs. 14-16. They have been diligently litigating this matter ever since.

                                             Conclusion

       For all the foregoing reasons and those stated in Plaintiffs’ Rule 56.1 response,

Defendant’s Motion for Summary Judgment should be denied in its entirety.




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Dated: March 29, 2019
       New York, NY
                                                            Respectfully submitted,


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                                   CERTIFICATE OF SERVICE


        I am an attorney at Wuersch & Gering LLP, counsel for Plaintiffs and Third-Party
Defendants, in the above-captioned proceeding. I hereby certify that on March 29, 2019, I
caused the foregoing to be served electronically via the United States District Court, Southern
District of New York Court’s ECF system upon those parties entitled to receive electronic notice.




                                                    Gregory F. Hauser




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